Case 2:10-cv-08738-RGK-OP Document 1 Filed 11/15/10 Page 1 of 9 Page ID #:7
Case 2:10-cv-08738-RGK-OP Document 1 Filed 11/15/10 Page 2 of 9 Page ID #:8
Case 2:10-cv-08738-RGK-OP Document 1 Filed 11/15/10 Page 3 of 9 Page ID #:9
Case 2:10-cv-08738-RGK-OP Document 1 Filed 11/15/10 Page 4 of 9 Page ID #:10
Case 2:10-cv-08738-RGK-OP Document 1 Filed 11/15/10 Page 5 of 9 Page ID #:11
Case 2:10-cv-08738-RGK-OP Document 1 Filed 11/15/10 Page 6 of 9 Page ID #:12
Case 2:10-cv-08738-RGK-OP Document 1 Filed 11/15/10 Page 7 of 9 Page ID #:13
Case 2:10-cv-08738-RGK-OP Document 1 Filed 11/15/10 Page 8 of 9 Page ID #:14
Case 2:10-cv-08738-RGK-OP Document 1 Filed 11/15/10 Page 9 of 9 Page ID #:15
